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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                           Case No. 1:21-cr-20664

v.                                                         Honorable Thomas L. Ludington
                                                           United States District Judge
ALEXANDRA ORTEGA GRACIA,
                                                           Honorable Patricia T. Morris
                  Defendant.                               United States Magistrate Judge
________________________________________/

     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING GUILTY
       PLEA, AND TAKING RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

        Magistrate Judge Patricia T. Morris conducted a plea hearing upon Defendant Alexandra

Ortega Gracia’s consent. ECF No. 14. On December 8, 2021, Judge Morris issued her Report and

Recommendation, recommending that this Court accept Defendant’s guilty plea. ECF No. 21.

        Although the Report states that the parties could object to and seek review of the

recommendations within 14 days of service, neither Plaintiff nor Defendant filed any objections.

Therefore, they have waived their right to appeal Judge Morris’s findings that Defendant was

competent to enter a plea and that the plea was entered knowingly, voluntarily, without coercion,

and with a basis in fact. See FED. R. CRIM. P. 11(b); Thomas v. Arn, 474 U.S. 140, 149 (1985).

        Accordingly, it is ORDERED that Judge Morris’s Report and Recommendation, ECF No.

21, is ADOPTED.

        Further, it is ORDERED that Defendant’s guilty plea is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 19, is taken UNDER ADVISEMENT.


        Dated: December 27, 2021                           s/Thomas L. Ludington
                                                           THOMAS L. LUDINGTON
                                                           United States District Judge
